                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 1 of 31




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                                           3                    IN THE UNITED STATES DISTRICT COURT

                                           4                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                           8   TECHNOLOGY PROPERTIES LIMITED LLC                   No. C 14-3640 CW
                                               and MCM PORTFOLIO LLC,
                                           9                                                       ORDER CONSTRUING
                                                          Plaintiffs,                              DISPUTED CLAIM TERMS
                                          10                                                       OF U.S. PATENT NOS.
                                                    v.                                             7,719,847;
For the Northern District of California




                                          11                                                       7,522,424; AND
                                               CANON, INC. et al.,                                 7,295,443
    United States District Court




                                          12
                                                          Defendants.                              (Docket No. 282)
                                          13
                                               ________________________________/
                                          14
                                               TECHNOLOGY PROPERTIES LIMITED LLC                   No. C 14-3643 CW
                                          15   and MCM PORTFOLIO LLC,
                                                                                                   (Docket No. 72)
                                          16              Plaintiffs,
                                          17        v.
                                          18   HEWLETT-PACKARD COMPANY,
                                          19              Defendant.
                                          20   ________________________________/
                                          21   TECHNOLOGY PROPERTIES LIMITED LLC                   No. C 14-3645 CW
                                               and MCM PORTFOLIO LLC,
                                          22                                                       (Docket No. 59)
                                                          Plaintiffs,
                                          23
                                                    v.
                                          24
                                               NEWEGG INC. et al.,
                                          25
                                                          Defendants.
                                          26
                                               ________________________________/
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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 2 of 31




                                           1   TECHNOLOGY PROPERTIES LIMITED LLC                      No. C 14-3646 CW
                                               and MCM PORTFOLIO LLC,
                                           2                                                          (Docket No. 69)
                                                                 Plaintiffs,
                                           3
                                                          v.
                                           4
                                               SEIKO EPSON CORPORATION, et al.,
                                           5
                                                                 Defendants.
                                           6
                                               ________________________________/
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                                          10          In these patent infringement cases, Plaintiffs Technology
For the Northern District of California




                                          11   Properties Limited, LLC, and MCM Portfolio, LLC, sued Defendants
    United States District Court




                                          12   Canon Inc., Canon U.S.A. Inc., Hewlett-Packard Company, Newegg
                                          13
                                               Inc., Rosewill Inc., Seiko Epson Corporation, and Epson America,
                                          14
                                               Inc.       The cases were initially filed in the United States District
                                          15
                                               Court for the Eastern District of Texas, and were transferred to
                                          16

                                          17   this District upon Defendants' consolidated motion to transfer

                                          18   venue.          Docket No. 163.1   In their amended complaints, Plaintiffs

                                          19   assert that several of Defendants' products infringe Plaintiffs'
                                          20   patents.          The parties seek construction of seven disputed terms
                                          21
                                               used in the claims of the following patents-in-suit: U.S. Patent
                                          22
                                               Numbers 7,719,847 (the '847 patent); 7,522,424 (the '424 patent)
                                          23
                                               and 7,285,443 (the '443 patent).           On June 18, 2015, the parties
                                          24
                                               appeared for a claim construction hearing.           Having considered the
                                          25

                                          26
                                          27          1
                                                      Docket Numbers correspond to the docket for case number
                                               14-3640.
                                          28

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 3 of 31



                                               claims and specifications, along with the papers and arguments of
                                           1

                                           2   counsel, the Court construes the disputed terms as follows.

                                           3                                LEGAL STANDARD

                                           4         Claim construction is a question of law to be determined by
                                           5   the Court.   Markman v. Westview Instruments, Inc., 52 F.3d 967,
                                           6
                                               979 (Fed. Cir. 1995) (en banc), aff'd, 517 U.S. 370 (1996).        "To
                                           7
                                               construe a claim term, the trial court must determine the meaning
                                           8
                                               of any disputed words from the perspective of one of ordinary
                                           9

                                          10   skill in the pertinent art at the time of filing."         Chamberlain

                                               Group, Inc. v. Lear Corp., 516 F.3d 1331, 1335 (Fed. Cir. 2008).
For the Northern District of California




                                          11
    United States District Court




                                          12   This requires a careful review of the intrinsic record, which
                                          13   includes the claim terms, written description, and prosecution
                                          14
                                               history of the patent.    Id.; Phillips v. AWH Corp., 415 F.3d 1303,
                                          15
                                               1312 (Fed. Cir. 2005) (en banc) (internal citations omitted).
                                          16
                                               While claim terms "are generally given their ordinary and
                                          17
                                               customary meaning," the rest of the claim language and the context
                                          18

                                          19   in which the terms appear "provide substantial guidance as to the

                                          20   meaning of particular claim terms."      Phillips, 415 F.3d at 1312-

                                          21   15.   Claims "must be read in view of the specification, of which
                                          22   they are a part."   Markman, 52 F.3d at 979.       Although a patent's
                                          23
                                               prosecution history "lacks the clarity of the specification and
                                          24
                                               thus is less useful for claim construction purposes," it "can
                                          25
                                               often inform the meaning of the claim language by demonstrating
                                          26
                                          27   how the inventor understood the invention and whether the inventor

                                          28   limited the invention in the course of prosecution, making the

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 4 of 31



                                               claim scope narrower than it would otherwise be."         Phillips, 415
                                           1

                                           2   F.3d at 1317 (internal quotation marks omitted).        The court may

                                           3   also consider extrinsic evidence, including dictionaries,

                                           4   scientific treatises, and testimony from experts and inventors.
                                           5   Such evidence, however, is "less significant than the intrinsic
                                           6
                                               record in determining the legally operative meaning of claim
                                           7
                                               language."    Id. (internal quotation marks omitted).
                                           8
                                                                              BACKGROUND
                                           9

                                          10       The three patents-in-suit were filed in the following order:

                                               the '443 patent was first, the '424 patent was second, and the
For the Northern District of California




                                          11
    United States District Court




                                          12   '847 patent was third.    The three patents describe devices for
                                          13   reading removable memory cards.      There are several different types
                                          14
                                               of memory cards available to consumers, including SmartMedia,
                                          15
                                               CompactFlash, MultiMediaCard (MMC), xD Picture Card and Memory
                                          16
                                               Stick.    The variety of formats presented a potential problem for
                                          17
                                               devices that needed to interface with multiple types of memory
                                          18

                                          19   cards, and the patents-in-suit overcome this problem by enabling

                                          20   production of a memory card reader that can accept and read

                                          21   multiple types of memory cards through a single slot in a single
                                          22   device.
                                          23
                                                   The parties agree that the patent describes the following
                                          24
                                               technology.   The memory cards have pads that mate with the
                                          25
                                               device's contact pins.    The contact pins connect to
                                          26
                                          27   interconnection means, which connect to signal lines, which

                                          28   connect to the device's controller.      The physical paths between

                                                                                    4
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 5 of 31



                                               the controller, signal lines, interconnection means and contact
                                           1

                                           2   pins are fixed.     However, because the device accommodates multiple

                                           3   types of memory cards--with their multiple numbers of pads--the

                                           4   contact pins may have to process different signals in order to
                                           5   communicate with the different types of memory cards.         The
                                           6
                                               device's controller "maps" the signal lines to the contact pins.
                                           7
                                               Figure 5 of the patents illustrates the different mapping
                                           8
                                               configurations.     For example: if an XD card is inserted, the
                                           9

                                          10   controller identifies the type of card and then connects the RDY

                                               signal line to contact pin 3.     However, if either an MMC or SD
For the Northern District of California




                                          11
    United States District Court




                                          12   card is inserted, the controller will connect an MCMD signal line
                                          13   to contact pin 3.
                                          14
                                                                              DISCUSSION
                                          15
                                                      1. "to map"
                                          16
                                                   The parties seek construction of the term "to map" as it
                                          17
                                               appears in two independent claims of the '443 patent.         Part of
                                          18

                                          19   claim 1 reads:

                                          20       a controller chip to map at least a subset of the at
                                                   least one set of contact pins to a set of signal lines
                                          21       or power lines, based on an identified type of a memory
                                                   media card.
                                          22
                                               '443 patent at 8:53-55.     The term also appears in claim 9 in
                                          23

                                          24   language that is slightly, though not significantly, different.

                                          25   '443 patent at 10:3-6.
                                          26       Plaintiffs contend that the verb "to map" means "to logically
                                          27
                                               assign," and in this case, to logically assign signals to pins,
                                          28

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 6 of 31



                                               depending on the type of memory card that is inserted into the
                                           1

                                           2   device.   Defendants argue that the term means something more

                                           3   specific.   They argue that the mapping terms were added during

                                           4   prosecution of the '443 patent2, and therefore the file history
                                           5   informs the scope of the claims.      Specifically, they argue that
                                           6
                                               the term "mapping" means "to vary the assignment of" because the
                                           7
                                               term was added following a prior art rejection, and if the
                                           8
                                               assignment of signal lines to contact pins does not vary, then the
                                           9

                                          10   device is not distinguishable from prior art.

                                                    The prior art to which Defendants refer is United States
For the Northern District of California




                                          11
    United States District Court




                                          12   Patent Number 6,402,558 (the Hung-Ju reference), which also taught
                                          13   an adapter capable of accommodating multiple types of memory
                                          14
                                               cards.    Defendants' Brief, Ex. 1 (Docket No. 300-1).       The original
                                          15
                                               application for the '443 patent included the following language
                                          16
                                               for claim 1: "a controller chip to differentiate a pin
                                          17
                                               configuration based on an inserted memory media card."            Office
                                          18

                                          19   Action Summary (Docket No. 300-3) at TPL002547.        The examiner

                                          20   rejected this claim as anticipated by Hung-Ju.        Office Action

                                          21   Summary at TPL002239-40.     Then, the applicant changed the language
                                          22   of claim 1 to the following: "a controller chip to map at least a
                                          23
                                               subset of the at least one set of contact pins to a set of signal
                                          24
                                               lines or power lines, based on an identified type of memory media
                                          25

                                          26
                                                    2
                                                      Defendants argue, and Plaintiffs do not contest, that
                                          27   statements relating to "mapping" during the prosecution of the
                                               '443 patent apply equally to the '424 and '847 patents.
                                          28

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 7 of 31



                                               card."   Office Action Summary at TPL002547.       The applicant
                                           1

                                           2   explained:

                                           3       As shown, Hung-Ju discusses a memory media card adaptor
                                                   suitable for different types of memory cards by
                                           4       physically "positioning contact pins and entrance slots
                                                   in various locations". Thus, Hung-Ju suggests using
                                           5       different sets of contact pins for different types of
                                           6       memory cards. By physically placing memory cards in
                                                   different positions in the adaptor, different contact
                                           7       pins are in contact with the memory cards. Thus, Hung-
                                                   Ju teaches away from the claim limitation using a
                                           8       controller chip to "map at least a subset of the at
                                                   least one set of contact pins to a set of signal lines
                                           9       or power lines" where one set of pins is mapped to
                                          10       different signals depending on the type of identified
                                                   memory card, as recited in Applicant's independent
                                                   claims 1 and 12 [patented claims 1 and 9].
For the Northern District of California




                                          11
    United States District Court




                                          12   Office Action Summary at TPL002554-55 (emphasis in original).       In

                                          13   sum, Hung-Ju taught a device with multiple slots and multiple sets
                                          14   of contact pins for the multiple types memory cards, but the
                                          15
                                               application that became the '443 patent taught a device that did
                                          16
                                               not require multiple slots and multiple contact pins but instead
                                          17
                                               utilized a controller to map the same (or a subset of) contact
                                          18

                                          19   pins to different signal lines, depending on the type of card

                                          20   inserted.

                                          21       Defendants offer two separate arguments regarding how Hung-Ju
                                          22   informs the construction of the "mapping" claim.        Defendants first
                                          23
                                               argue that the specification of the '443 and '424 patents uses the
                                          24
                                               word "mapping" in an entirely different sense than it is used in
                                          25
                                               the claims.   They point to Figure 3, described as showing a device
                                          26
                                               with "a number of sets of contact pins," and explain that these
                                          27

                                          28   different sets of contact pins exist to connect to different types

                                                                                    7
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 8 of 31



                                               of cards.   They argue that Figures 4 and 5 describe fixed
                                           1

                                           2   assignments of signal lines and different sets of contact pins,

                                           3   depending on which type of card is inserted.        According to

                                           4   Defendants, this "mapping" is different from the controller chip's
                                           5   task "to map" pins to signal lines because the Figures depict a
                                           6
                                               version of the invention that was rejected due to Hung-Ju, while
                                           7
                                               the use of a controller "to map" pins to signal lines was added
                                           8
                                               after the prior art rejection.
                                           9

                                          10       The Court is not persuaded that it must read the "to map"

                                               phrases in the claims differently from the "mapping" phrases in
For the Northern District of California




                                          11
    United States District Court




                                          12   the specification.    It is well-established that a court looks to
                                          13   the prosecution history as well as the words of the claims
                                          14
                                               themselves, the specification and any relevant extrinsic evidence
                                          15
                                               when construing claims.    Phillips v. AWH Corp., 415 F.3d 1303,
                                          16
                                               1312-12 (Fed. Cir. 2005) (en banc).      Prosecution history is
                                          17
                                               particularly informative when it demonstrates that the inventor
                                          18

                                          19   limited the invention in the course of prosecution, making the

                                          20   claim scope narrower than it would otherwise be.        Vitronics Corp.

                                          21   v. Conceptronic, Inc., 90 F.3d 1576, 1582-83 (Fed. Cir. 1996).
                                          22   "In construing terms used in patent claims, it is necessary to
                                          23
                                               consider the specification as a whole, and to read all portions of
                                          24
                                               the written description, if possible, in a manner that renders the
                                          25
                                               patent internally consistent."      Budde v. Harley-Davidson, Inc.,
                                          26
                                          27   250 F.3d 1369, 1379-80 (Fed. Cir. 2001).       Defendants have not

                                          28   shown that the variations of the word "map" are used

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 9 of 31



                                               inconsistently throughout.     Rather, as Plaintiffs show, the claims
                                           1

                                           2   as revised following the prior art rejection are consistent with

                                           3   the description of the mapping function in the specification.

                                           4   Once a memory card is inserted, a controller chip determines what
                                           5   type of card is inserted and then maps the contact pins to signal
                                           6
                                               lines according to the assignments shown in Figures 4 and 5.
                                           7
                                               Indeed, the applicant specifically referred to Figure 4 in his
                                           8
                                               discussion of "mapping" in the context of the Hung-Ju reference.
                                           9

                                          10   The "mapping" terms are susceptible to a logical, internally-

                                               consistent reading, and Defendants' argument that the Court must
For the Northern District of California




                                          11
    United States District Court




                                          12   read the "mapping" phrases as having different meanings in the
                                          13   specification and the claims is without merit.
                                          14
                                                   Defendants next contend that one skilled in the art would
                                          15
                                               understand the term "to map" as used in the patents-in-suit and in
                                          16
                                               the context of the prosecution history detailed above to mean
                                          17
                                               varying the assignment of the signal line based upon which type of
                                          18

                                          19   memory card is inserted.     Defendants further urge the Court to

                                          20   specify that the use of some signal lines in some circumstances

                                          21   but not others, based upon fixed assignments, does not constitute
                                          22   mapping.   Defendants argue that after the application was rejected
                                          23
                                               due to Hung-Ju, the applicant added the mapping term, thereby
                                          24
                                               narrowing the claim scope.     Defendants show that the adapter in
                                          25
                                               Hung-Ju contained a single slot for SD and MMC cards, and
                                          26
                                          27   extrapolate that one skilled in the art would understand that the

                                          28   use of the phrase "to map" excludes such an arrangement.

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 10 of 31



                                                    Plaintiffs respond first that Defendants' argument is less
                                           1

                                           2   one of claim construction than it is of non-infringement.          The

                                           3   Court agrees.   If the accused devices are like the device in Hung-

                                           4   Ju, with a single port and a shared set of contact pins for both
                                           5   SD and MMC cards, it may be that the accused devices do not
                                           6
                                               infringe the patents-in-suit.      However, the fact that the inventor
                                           7
                                               distinguished prior art does not necessarily shed light on the
                                           8
                                               definition of the terms used.      First, as Plaintiffs argue, the
                                           9

                                          10   applicant did not differentiate Hung-Ju on the basis that

                                               "mapping" required "varying assignments."        The discussion block-
For the Northern District of California




                                          11
    United States District Court




                                          12   quoted above distinguishes Hung-Ju on the basis that Hung-Ju
                                          13   utilizes multiple ports with different physical locations in the
                                          14
                                               device while the patented invention utilizes a controller chip to
                                          15
                                               map signals to lines, depending on the type of memory card
                                          16
                                               inserted.   It is not plain from this discussion that "mapping"
                                          17
                                               must mean varying the assignments such that using signal lines in
                                          18

                                          19   some circumstances but not in others does not constitute mapping.

                                          20   Second, the Court must give claim terms their plain and ordinary

                                          21   meaning to one of skill in the art, with two exceptions: (1) when
                                          22   the inventor acts as a lexicographer and defines a term and (2)
                                          23
                                               when the inventor disavows the full scope of the claim term,
                                          24
                                               either during prosecution or in the specification.         Hill-Rom
                                          25
                                               Services, Inc. v. Stryker Corp., 755 F.3d 1367, 1371 (Fed. Cir.
                                          26
                                          27   2014) (citations omitted).     Defendants argue neither.       The Court

                                          28

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 11 of 31



                                               thus concludes that it must reject Defendants' proposed
                                           1

                                           2   construction of "to map."

                                           3        Plaintiffs propose construing "to map" as "to logically

                                           4   assign."   As briefly mentioned in a footnote in their reply brief,
                                           5   and as discussed at the claim construction hearing, Plaintiffs'
                                           6
                                               proposal includes the word "logically" in an effort to define away
                                           7
                                               any necessity for a physical change of connections based upon the
                                           8
                                               identification of a type of media card.       This argument anticipates
                                           9

                                          10   an argument made by Defendants before the ITC, but which

                                               Defendants did not include in their response brief.         The Court
For the Northern District of California




                                          11
    United States District Court




                                          12   concludes that the plain and ordinary meaning of "to map" as used
                                          13   in the patents does not necessarily speak to whether the
                                          14
                                               assignment must be physical or logical, and making that
                                          15
                                               determination would be beyond the scope of claim construction.
                                          16
                                               Accordingly, the Court construes "to map" as meaning "to assign."
                                          17
                                                       2. "means for mapping"
                                          18

                                          19        The parties seek construction of the term "means for mapping"

                                          20   as it appears in four claims of the '424 patent and one claim of

                                          21   the '847 patent.
                                          22        Claim 1 of the '847 patent describes a "means for mapping
                                          23
                                               power, ground or data signals between said signal lines and said
                                          24
                                               contact pins depending upon the identification of the type of
                                          25
                                               memory card inserted into said port; wherein the means for mapping
                                          26
                                          27   comprises a controller."     '847 patent at 8:46-50.      Claim 26 of the

                                          28   '424 patent claims an "Apparatus according to claim 25 where the

                                                                                    11
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 12 of 31



                                               means for mapping comprises a controller."        '424 patent at 11:12-
                                           1

                                           2   13.    Claim 29 of the '424 patent claims an "Apparatus according to

                                           3   Claim 28 where said means for mapping comprises a controller."

                                           4   '424 patent at 12:12-13.     Claims 25 and 28 describe a "means for
                                           5   mapping power, ground or data signals between said interconnection
                                           6
                                               pins and said one or more contact pins depending upon the
                                           7
                                               identification of the type of memory card inserted into said
                                           8
                                               port."    '424 patent at 11:8-11 and 12:8-11.
                                           9

                                          10          Defendants contend that all five of the above-quoted claim

                                               terms are means-plus-function claims governed by 35 U.S.C. § 112,
For the Northern District of California




                                          11
    United States District Court




                                          12   ¶ 6.    Defendants further contend that all five claims are invalid
                                          13   as indefinite because the patents do not disclose an algorithm to
                                          14
                                               accomplish the function.     Plaintiffs agree claims 25 and 28 of the
                                          15
                                               '424 patent are means-plus-function claims, but argue that claim 1
                                          16
                                               of the '847 patent and claims 26 and 29 of the '424 patent are
                                          17
                                               not.
                                          18

                                          19          The Court first considers whether claim 1 of the '847 patent

                                          20   and claims 26 and 29 of the '424 patent are means-plus-function

                                          21   claims.     The text of these claims specifies that the "means for
                                          22   mapping comprises a controller."      Claim terms that use the phrase
                                          23
                                               "means for" are presumptively means-plus-function terms governed
                                          24
                                               by § 112.    Biomedino, LLC v. Waters Techs. Corp., 490 F.3d 946,
                                          25
                                               950 (Fed. Cir. 2007).     The presumption is overcome if the claim,
                                          26
                                          27   in addition to the functional language, recites sufficient

                                          28   structure to perform the recited function in its entirety.         Id.

                                                                                    12
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 13 of 31



                                               The parties agree that the structure recited in claim 1 of the
                                           1

                                           2   '847 patent and claims 26 and 29 of the '424 patent is "a

                                           3   controller."   Plaintiffs maintain that naming a controller

                                           4   discloses sufficient structure to explain how to perform the
                                           5   mapping function described in these claims; Defendants argue that
                                           6
                                               it does not.
                                           7
                                                    Both sides offer an expert opinion in support of their
                                           8
                                               argument.   Plaintiffs provide a declaration from their expert,
                                           9

                                          10   Dale E. Buscaino, from the proceedings before the ITC.             During

                                               those proceedings, Mr. Buscaino opined:
For the Northern District of California




                                          11
    United States District Court




                                          12        It is my opinion that the disclosed structure includes a
                                                    controller or controller chip. . . . In my opinion, the
                                          13        controller or controller chip is a chip or integrated
                                                    circuit that can manage, for example, flash memory card
                                          14
                                                    input / output, without the need for a computer or
                                          15        microprocessor and without any programmed algorithm. It
                                                    is my opinion that a computer-less, microprocessor-less
                                          16        integrated circuit or chip can perform the function of
                                                    "mapping power, ground or data signals. . . ." And, I
                                          17        do not view the specifications of the '847 and '424
                                                    patents as limiting the controller or controller chip to
                                          18
                                                    require a computer or microprocessor.
                                          19
                                               Buscaino Decl., Docket No. 282-17, Ex. O. at ¶ 20.         Defendants
                                          20
                                               counter with an opinion from their expert, Dr. Gary S. Tjaden,
                                          21
                                               that in order to accomplish the mapping function, the disclosure
                                          22
                                               of a controller as structure is insufficient because the mapping
                                          23

                                          24   function requires that the controller must be a microprocessor and

                                          25   that the microprocessor must be programmed according to a
                                          26   particular algorithm.
                                          27

                                          28

                                                                                    13
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 14 of 31



                                                    The Court finds Plaintiffs' expert to be more persuasive.
                                           1

                                           2   Defendants' argument may have been more relevant had the Court

                                           3   adopted Defendants' proposal regarding the construction of the

                                           4   term "to map."    If the patents required a dynamic assignment of
                                           5   contact pins to signal lines, then a microprocessor might be
                                           6
                                               necessary to accomplish the mapping function.        Defendants' expert,
                                           7
                                               Dr. Tjaden, opines that a microprocessor is required, but does not
                                           8
                                               clearly identify the definition of the term "mapping" that he
                                           9

                                          10   employs.     Tjaden Decl. (Docket No. 300-18).     It appears that he

                                               utilizes Defendants' proposed definition of "to map" which would
For the Northern District of California




                                          11
    United States District Court




                                          12   require the controller to be capable of dynamically varying the
                                          13   assignments of signal lines to contact pins.        It may well be that
                                          14
                                               under Defendants' understanding of "to map" a microprocessor is
                                          15
                                               necessary; however, the Court rejected Defendants' proposal as
                                          16
                                               explained above.     The Tjaden declaration does not shed much light
                                          17
                                               on the necessity of a microprocessor under the less-stringent
                                          18

                                          19   construction of "to map" as utilized in the patents and adopted by

                                          20   the Court.    In contrast, Plaintiffs' expert Mr. Buscaino

                                          21   explicitly utilized the construction adopted above; he stated in
                                          22   his declaration that to "logically assign" signals, a controller
                                          23
                                               is sufficient structure.     Buscaino Decl. at ¶¶ 19-20.
                                          24
                                                    Defendants' citation to Aristocrat Technologies Australia Pty
                                          25
                                               Ltd. v. International Game Technology, 521 F.3d 1328 (Fed Cir.
                                          26
                                          27   2008), is unavailing.     In that case, the Federal Circuit held that

                                          28   computer-implemented means-plus-function claims require an

                                                                                    14
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 15 of 31



                                               algorithm in order to disclose sufficient structure.          521 F.3d at
                                           1

                                           2   1338.   But there, even the patentee acknowledged that the

                                           3   structure required a "standard microprocessor-based gaming machine

                                           4   with appropriate programming" to accomplish the recited functions.
                                           5   Id. at 1331 (internal quotations omitted).        There was no argument
                                           6
                                               before that court, as there is here, that a microprocessor is not
                                           7
                                               necessary to perform the recited functions.        Instead, here,
                                           8
                                               Plaintiffs' expert opined that the recited functions could be
                                           9

                                          10   accomplished by "a computer-less, microprocessor-less integrated

                                               circuit or chip."    The holding from Aristocrat requiring
For the Northern District of California




                                          11
    United States District Court




                                          12   disclosure of an algorithm does not extend to a function that can
                                          13   be performed by an integrated circuit or chip.
                                          14
                                                    Given the uncertainty surrounding Defendants' expert's
                                          15
                                               definition of the mapping function and the likelihood that their
                                          16
                                               expert employed a more stringent definition of the mapping
                                          17
                                               function than the Court adopted above, the Court concludes that
                                          18

                                          19   claim 1 of the '847 patent and claims 26 and 29 of the '424

                                          20   patent, which specifically state that the "means for mapping

                                          21   comprises a controller," disclose sufficient structure to overcome
                                          22   the presumption that the claims are means-plus-function claims.
                                          23
                                                    Claims 25 and 28 of the '424 patent vary slightly in that
                                          24
                                               they do not specify structure, but rather focus on the function
                                          25
                                               performed.   They claim a "means for mapping power, ground or data
                                          26
                                          27   signals between said interconnection pins and said one or more

                                          28   contact pins depending upon the identification of the type of

                                                                                    15
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 16 of 31



                                               memory card inserted into said port."       The parties agree that
                                           1

                                           2   these claims are means-plus-function claims.        For such claims,

                                           3   courts utilize a two-step process in claim construction.           First,

                                           4   the court must identify the function described in the claim, and
                                           5   second, the court must identify the corresponding structure for
                                           6
                                               that function.   There is no dispute that the function is
                                           7
                                               "mapping," which, as construed above, means "assigning."           The
                                           8
                                               parties also agree that these claims disclose a controller as the
                                           9

                                          10   structure.

                                                    The controversy raised by the parties with regard to these
For the Northern District of California




                                          11
    United States District Court




                                          12   claims is less about claim construction than the validity of the
                                          13   claims.   Defendants argue that "a controller" is insufficient
                                          14
                                               structure, that therefore an algorithm must be disclosed, and that
                                          15
                                               the Court must find the claim to be invalid as indefinite because
                                          16
                                               the patents do not disclose an algorithm.        Patents are presumed
                                          17
                                               valid and, thus, Defendants bear the burden to show that the
                                          18

                                          19   claims fail as indefinite.     Telcordia Technologies, Inc. v. Cisco

                                          20   Systems, Inc., 612 F.3d 1365, 1377 (Fed Cir. 2010).         As discussed

                                          21   above, Plaintiffs and Defendants have both offered expert
                                          22   testimony on this point; however, Defendants' expert did not
                                          23
                                               specify the definition of the "mapping" function he considered in
                                          24
                                               arriving at his opinion that a controller is insufficient
                                          25
                                               structure to accomplish the function.       The Court therefore
                                          26
                                          27   declines to determine the validity of the claims at this time.

                                          28   Defendants will have an opportunity to put forth any invalidity

                                                                                    16
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 17 of 31



                                               arguments they may have, utilizing the "mapping" terms as
                                           1

                                           2   construed by the Court.

                                           3        Accordingly, the Court construes "means for mapping" to have

                                           4   a function as that recited by the claims (with "mapping" as
                                           5   construed above) and construes the corresponding structure as "a
                                           6
                                               controller."    Additionally, the Court rejects Defendants' argument
                                           7
                                               that the "means for mapping" term is indefinite, without prejudice
                                           8
                                               to Defendants' reasserting the argument with appropriate evidence
                                           9

                                          10   at summary judgment or trial.

                                                        3. "means for [identifying/determining] the type of memory
For the Northern District of California




                                          11
                                                           card inserted into said port"
    United States District Court




                                          12
                                                    This phrase appears in claims 25 and 28 of the '424 patent
                                          13
                                               and claim 2 of the '847 patent.      The '424 patent twice describes a
                                          14

                                          15   "means for identifying the type of memory card inserted into said

                                          16   port."    '424 patent at 11:6-7 and 12:6-7.      The '847 patent
                                          17   describes an apparatus "where said controller comprises means for
                                          18
                                               determining the type of memory card inserted into said port."
                                          19
                                               '847 patent at 8:51-54.
                                          20
                                                    The parties agree that these phrases are means-plus-function
                                          21
                                               claims governed by 35 U.S.C. § 112, ¶ 6, and they agree that the
                                          22

                                          23   function is identifying the type of memory card inserted into the

                                          24   port.    The parties dispute the corresponding structure.

                                          25   Plaintiffs maintain that the structure is a controller.
                                          26   Defendants argue that more is required, and that the structure is
                                          27
                                               "a controller and card detect lines for the various cards, wherein
                                          28

                                                                                    17
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 18 of 31



                                               the card detect lines for at least one type of memory card is
                                           1

                                           2   multiplexed with data bus lines for at least one other type of

                                           3   card."   Defendants' Brief at 20.

                                           4        Title 35 provides that the "specification shall conclude with
                                           5   one or more claims particularly pointing out and distinctly
                                           6
                                               claiming the subject matter which the applicant regards as his
                                           7
                                               invention."   35 U.S.C. § 112, ¶ 2.        The test for whether the
                                           8
                                               disclosure is sufficient is considered from the perspective of a
                                           9

                                          10   person of skill in the art.      Telcordia, 612 F.3d at 1377.       "While

                                               corresponding structure need not include all things necessary to
For the Northern District of California




                                          11
    United States District Court




                                          12   enable the claimed invention to work, it must include all
                                          13   structure that actually performs the recited function."            Default
                                          14
                                               Proof Credit Card Sys. v. Home Depot U.S.A., Inc., 412 F.3d 1291,
                                          15
                                               1298 (Fed. Cir. 2005).
                                          16
                                                    In their briefs and presentations at the claim construction
                                          17
                                               hearing, the parties dispute what structure is necessary to
                                          18

                                          19   perform the stated function.      First, Defendants argue that card

                                          20   detect lines are required to perform the identifying function,

                                          21   while Plaintiffs contend that they are not.         The patents state
                                          22   that detection of card type is determined by which of the card
                                          23
                                               detect lines pulls to low voltage, and it is through this signal
                                          24
                                               on the card detect lines that the controller knows which type of
                                          25
                                               card is inserted into the device.         '424 patent at 6:44-46.     The
                                          26
                                          27   card detect lines are a necessary part of the structure that

                                          28   actually performs the identification function.         Thus, disclosure

                                                                                    18
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 19 of 31



                                               of the controller and card detect lines as the structure satisfies
                                           1

                                           2   the requirement that the disclosure "include all structure that

                                           3   actually performs the recited function."        Default Proof Credit

                                           4   Card Sys., 412 F.3d at 1298.
                                           5        Next, Defendants argue that the card detect lines must be
                                           6
                                               multiplexed with signal lines.      They point out that the
                                           7
                                               specification's discussion of the SmartMedia and xD cards includes
                                           8
                                               data bus lines that are "multiplexed to serve as card-detect
                                           9

                                          10   lines."    Defendants do not effectively reply to Plaintiffs'

                                               response that in some embodiments no multiplexing is required.
For the Northern District of California




                                          11
    United States District Court




                                          12   Plaintiffs show that if the invention is implemented in a device
                                          13   that reads only the Mini SD, RS MMC and Memory Stick Duo types of
                                          14
                                               media memory cards, none of the card detect lines must be
                                          15
                                               multiplexed.    This is because, as illustrated in Figure 5, each of
                                          16
                                               these types of memory cards utilizes different card detect lines.
                                          17
                                               In this embodiment, each card has its own non-multiplexed card
                                          18

                                          19   detect line that is not shared with any other card type.

                                          20   Accordingly, the Court concludes that the data lines may be

                                          21   multiplexed, but it is not necessary that they be multiplexed in
                                          22   all embodiments of the patent.
                                          23
                                                    At the claim construction hearing, Plaintiffs offered MCMD
                                          24
                                               command signals as another component for the structure of this
                                          25
                                               claim.    Defendants countered that the MCMD command signals, while
                                          26
                                          27   mentioned in the patent, are not clearly linked to the function of

                                          28   identifying the type of card, and therefore MCMD command signals

                                                                                    19
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 20 of 31



                                               cannot be cited as structure for the means-plus-function claim.
                                           1

                                           2   Biomedino, 490 F.3d at 950.      Plaintiffs referred the Court to

                                           3   paragraph 40 of the Buscaino declaration, which provides:

                                           4        There are a number of structures disclosed in the '424
                                                    and '847 patent specifications that are involved in the
                                           5        card identification process. . . . Further, Figures 4
                                           6        and 5 of the '424 and '847 patents disclose MCMD, which
                                                    refers to a pin and corresponding control signal line
                                           7        used by the controller for sending commands and by SD
                                                    and MMC cards for issuing responses back to the
                                           8        controller. In addition, the '424 and '847 patents
                                                    disclose "control signals" in column 6, lines 51-53 and
                                           9        column 5, lines 52-54, respectively. Control signals
                                          10        include signals issued by the controller to a card that
                                                    include initialization commands. Initialization
                                                    commands disclosed in the SD specification, such as
For the Northern District of California




                                          11
                                                    CMD0, ACMD41, CMD2, and CMD3, are conveyed along the
    United States District Court




                                          12        MCMD control signal line and are used by the controller
                                                    to distinguish between SD and MMC cards. Responses from
                                          13        SD and MMC cards are also conveyed along the MCMD
                                                    controls signal line.
                                          14

                                          15   Buscaino Decl. at ¶ 40.     The Court agrees with Defendants that

                                          16   MCMD was not clearly linked to the function of identifying the

                                          17   card type, and takes each argument quoted above in turn.           First,
                                          18   it is true that "MCMD" appears in Figures 4 and 5 of the patents,
                                          19
                                               but it appears only as a mapping of a contact pin to a signal line
                                          20
                                               and without any explanation regarding function.         The citation to
                                          21
                                               the disclosure of control signals in the '424 and '847 patents is
                                          22
                                               similarly unhelpful to Plaintiffs; the cited passage refers to
                                          23

                                          24   control signals found in the pin mappings for smart media cards,

                                          25   not MMC/SD cards, and does not refer to MCMD.        And finally, the SD
                                          26   specification, an extrinsic document, is of little assistance
                                          27
                                               because the inquiry is limited to the written description in the
                                          28

                                                                                    20
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 21 of 31



                                               patents themselves.    For these reasons, the Court does not find
                                           1

                                           2   that MCMD command signals are part of the recited structure of

                                           3   this claim.

                                           4        Accordingly, the Court construes the function as that recited
                                           5   by the claims and construes the corresponding structure as "a
                                           6
                                               controller and card detect lines."
                                           7
                                                       4. "Contact pins integrated within [the] molded plastic"
                                           8
                                                    This phrase appears in claims 1 and 9 of the '443 patent.
                                           9

                                          10   Claim 1 describes contact pins, ". . . wherein the at least one

                                               set of contact pins are integrated within the molded plastic of
For the Northern District of California




                                          11
    United States District Court




                                          12   the first planar element or the second planar element."            '443
                                          13   patent at 8:49-53.    The term appears in claim 9 in language that
                                          14
                                               is slightly, though not significantly, different.         '443 patent at
                                          15
                                               9:27-10:2.    Plaintiffs contend that no construction is necessary
                                          16
                                               because the phrase is readily comprehensible by a finder of fact.
                                          17
                                               Defendants argue that intrinsic evidence supports giving the term
                                          18

                                          19   a limited construction, that the pins are "embedded" in the

                                          20   plastic, and so-called floating pins are excluded.         Defendants'

                                          21   Brief at 25.
                                          22        Defendants first argue that the specification teaches away
                                          23
                                               from floating pins.    The specification discusses the floating pins
                                          24
                                               of the prior art and points out several disadvantages, including:
                                          25
                                               floating pins are subject to damage and deterioration, their
                                          26
                                          27   resiliency is reduced through use which may eventually make it

                                          28   more difficult for cards to make connection, and improper

                                                                                    21
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 22 of 31



                                               insertion of memory cards may result in damage to the pins.         '443
                                           1

                                           2   patent at 2:66-3:10.    The specification further states that the

                                           3   invention overcomes these problems because the pins are "formed

                                           4   from injected contacts with protruding pins."        '443 patent at
                                           5   5:26-27.   Defendants maintain that these statements show that
                                           6
                                               floating pins are not included in the specification.          The Court
                                           7
                                               disagrees with this argument for two related reasons.          First,
                                           8
                                               Defendants overlook the words preceding the above-quoted phrase;
                                           9

                                          10   the complete phrase actually remarks, "For an embodiment in which

                                               the planar elements are formed from molded plastic, contact pin
For the Northern District of California




                                          11
    United States District Court




                                          12   sets may be formed from injected contacts with protruding pins."
                                          13   '443 patent at 5:24-27 (figure numerals omitted; emphasis added).
                                          14
                                               Thus the specification leaves open the possibility that the pins
                                          15
                                               may be "formed from injected contacts" in an embodiment, but also
                                          16
                                               that they may not in other embodiments.        Second, the '443 patent
                                          17
                                               explains the advantages of "one embodiment" of the invention as
                                          18

                                          19   having pins that retain resiliency more than floating pins.         '443

                                          20   patent at 4:23-26.     This may be read to imply that other

                                          21   embodiments of the patent include floating pins.         That a patent
                                          22   criticizes existing technology does not necessarily preclude
                                          23
                                               incorporation of that technology.         Thorner v. Sony Computer Entm't
                                          24
                                               Am. LLC, 669 F.3d 1362, 1366 (Fed. Cir. 2012) ("Mere criticism of
                                          25
                                               a particular embodiment encompassed in the plain meaning of a
                                          26
                                          27   claim term is not sufficient to rise to the level of clear

                                          28

                                                                                    22
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 23 of 31



                                               disavowal.").      The Court thus concludes that the claims do not
                                           1

                                           2   necessarily disallow the use of floating pins in every embodiment.

                                           3        Defendants also argue that the applicant disclaimed floating

                                           4   pins during the prosecution of the '443 patent.         It is true, as
                                           5   noted above, that "the prosecution history (or file wrapper)
                                           6
                                               limits the interpretation of claims so as to exclude any
                                           7
                                               interpretation that may have been disclaimed or disavowed during
                                           8
                                               prosecution in order to obtain claim allowance."         Standard Oil Co.
                                           9

                                          10   v. Am. Cyanamid Co., 774 F.2d 448, 452 (Fed. Cir. 1985).

                                               Patentees are not entitled to the broad, plain and ordinary
For the Northern District of California




                                          11
    United States District Court




                                          12   meaning of a claim term if they have made a clear disavowal of
                                          13   claim scope.    Thorner, 669 F.3d at 1367.      The court may only find
                                          14
                                               disavowal if there is "a clear and explicit statement by the
                                          15
                                               patentee."   Id.     Defendants point to the prosecution history, and
                                          16
                                               contend that the applicant explicitly disclaimed floating pins in
                                          17
                                               response to the prior art rejection citing Hung-Ju.         However, a
                                          18

                                          19   close look at the relevant discussion reveals that the applicant

                                          20   pointed out only that the invention has contacts pins that are

                                          21   "integrated within the molded plastic" in contrast to Hung-Ju
                                          22   which teaches pins that are "of a floating structure sitting on an
                                          23
                                               exterior or interior surface."      Office Action Summary at
                                          24
                                               TPL002556-57.      The parties have not provided the Court with a
                                          25
                                               comprehensive definition of what a floating pin is, and the
                                          26
                                          27   discussion during the claim construction hearing yielded examples

                                          28   but nothing definitive.      It may be that pins "of a floating

                                                                                    23
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 24 of 31



                                               structure sitting on an exterior or interior surface" are only one
                                           1

                                           2   variation of floating pins, and in excluding all floating pins the

                                           3   Court would read the discussion of Hung-Ju too broadly.            Based on

                                           4   the record before the Court, the Court is unwilling to find that
                                           5   the applicant's statement during prosecution constituted a clear
                                           6
                                               and explicit disavowal of floating pins of every possible nature.
                                           7
                                                    The Court will not define the claim term with reference to
                                           8
                                               "floating contact pins."     Nonetheless, the Court disagrees with
                                           9

                                          10   Plaintiffs' argument that no construction is necessary of the

                                               claim term "contact pins integrated within [the] molded plastic."
For the Northern District of California




                                          11
    United States District Court




                                          12   The Court will, therefore, further define the term.         Defendants
                                          13   argue that the term should be construed to mean "embedded within
                                          14
                                               molded plastic."    Defendants' Brief at 24.      At the ITC, the ALJ
                                          15
                                               agreed with Defendants, noting that part of the specification
                                          16
                                               describes the advantages of the pins being "embedded" in the
                                          17
                                               molded plastic.    ALJ Claim Construction at 23 (quoting '443 patent
                                          18

                                          19   at 7:67-8:3).   The Court agrees with this construction.           The

                                          20   purpose behind "integrating" the pins into the plastic is to build

                                          21   a physical structure that is sturdier than if the pins were merely
                                          22   resting upon the plastic.     Construction of the term to require
                                          23
                                               that the contact pins be embedded--that is, firmly fixed--in the
                                          24
                                               molded plastic reflects that stated purpose.        Accordingly, the
                                          25
                                               Court construes "contact pins integrated within the molded
                                          26
                                          27   plastic" to mean "contact pins embedded within the molded

                                          28   plastic."

                                                                                    24
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 25 of 31




                                           1

                                           2           5. "interconnection means"

                                           3         This phrase appears in claims 25 and 28 of the '424 patent,

                                           4   and claim 1 of the '847 patent.      Claim 25 of the '424 patent
                                           5   describes "an interconnection means having a plurality of
                                           6
                                               interconnection pins".     '424 patent at 10:66-67.      Claim 28 of the
                                           7
                                               '424 patent describes "a set of signal lines connected to an
                                           8
                                               interconnection means."     '424 patent at 12:5.     Finally, claim 1 of
                                           9

                                          10   the '847 patent describes:

                                                          a set of signal lines connected to a controller,
For the Northern District of California




                                          11
                                                     the number of signal lines being fewer than the number
    United States District Court




                                          12         of contact pins; the signal lines located between the
                                                     controller and an interconnection means;
                                          13              said interconnection means being located between
                                                     the signal lines and the plurality of sets of contact
                                          14
                                                     connecting said signal lines to said one or more contact
                                          15         pins[.]

                                          16   '847 patent at 8:39-46.     Plaintiffs argue that the term

                                          17   "interconnection means" should be construed as "conductive
                                          18   elements that electrically connect."       Plaintiffs' Brief at 20.
                                          19
                                               Defendants argue that the term means "conductive structures
                                          20
                                               separate and distinct from contact pins."        Defendants' Brief at
                                          21
                                               28.
                                          22
                                                     The Court agrees with Defendants.      This construction is
                                          23

                                          24   supported by the specification.      The '424 patent describes

                                          25   "[i]nterconnects that electrically connect the standard connector
                                          26   to contact pins."    '424 patent at 5:42-43 (figure numerals
                                          27
                                               omitted).   The interconnects (or interconnection means) are
                                          28

                                                                                    25
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 26 of 31



                                               separate structures placed between the connector and the contact
                                           1

                                           2   pins.   Additionally, claims 25 and 28 both require a "means for

                                           3   mapping" between the interconnection means and the contact pins.

                                           4   '424 patent at 11:8-10 and 12:8-10.       In order to map signals
                                           5   between interconnection means and contact pins, those two elements
                                           6
                                               must be separate and distinct structures.        This understanding is
                                           7
                                               also supported by the '847 patent, where claim 1 requires an
                                           8
                                               interconnection means that "connect[s] said signal lines to one or
                                           9

                                          10   more contact pins."    Plaintiffs contend that there is no intrinsic

                                               evidence requiring that the interconnection means must be separate
For the Northern District of California




                                          11
    United States District Court




                                          12   from the contact pins.     However, Plaintiffs do not address or
                                          13   rebut Defendants' arguments.       The Court concludes that if there is
                                          14
                                               a means for mapping signals between interconnection means and
                                          15
                                               contact pins, these two elements must be separate and distinct
                                          16
                                               because if they are the same structures then the claimed mapping
                                          17
                                               cannot occur.    Accordingly, the Court construes "interconnection
                                          18

                                          19   means" to mean "conductive structures separate and distinct from

                                          20   contact pins."

                                          21             6. "memory media card"
                                          22        This phrase appears in claims 1 and 9 of the '443 patent, in
                                          23
                                               claims 25 and 28 of the '424 patent, and in claim 1 of the '847
                                          24
                                               patent.    Claim 1 of the '443 patent describes a physical structure
                                          25
                                               creating a "port capable of receiving a memory media card" and a
                                          26
                                          27   controller chip to map contact pins to signal lines, "based on an

                                          28   identified type of a memory media card."        '443 patent at 8:42 and

                                                                                    26
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 27 of 31



                                               8:54-56.   The term also appears in claims 25 and 28 of the '424
                                           1

                                           2   patent, and in claim 1 of the '847 patent in language that is

                                           3   slightly, though not significantly, different.         '424 patent at

                                           4   11:4 and 12:4; '847 patent at 8:37.
                                           5        Plaintiffs contend that the term is readily comprehensible to
                                           6
                                               a finder of fact and no further construction is necessary.             As
                                           7
                                               discussed at the claim construction hearing, the Court disagrees
                                           8
                                               with Plaintiffs, and finds that some definition of the term is
                                           9

                                          10   necessary to assist in the adjudication of the parties' dispute.

                                               At the hearing, when asked to offer a construction of the term,
For the Northern District of California




                                          11
    United States District Court




                                          12   Plaintiffs emphasized the requirement that the memory media card
                                          13   be capable of storing large digital files, such as video or
                                          14
                                               photographs.   Defendants proposed construing the term as "a
                                          15
                                               removable module capable of storing electronic data."          Defendants'
                                          16
                                               Brief at 29.
                                          17
                                                    The Court adopts Defendants' proposal.        The word "media"
                                          18

                                          19   could be read either as describing a structure upon which data is

                                          20   written or as describing the content that is written, for example

                                          21   video or pictures.    The Court finds that the word is used to
                                          22   describe the former.    First, the patents do not limit the term to
                                          23
                                               require that the card be capable of storing video or photographs.
                                          24
                                               The actual content of the card is not discussed in the patents;
                                          25
                                               there is no mention of video, photographs or pictures.             Second,
                                          26
                                          27   while the patents provide examples of cards that are capable of

                                          28   storing media content, the specification specifically states, "In

                                                                                    27
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 28 of 31



                                               general, embodiments of the invention are applicable to any
                                           1

                                           2   generic flash media."     '443 patent at 8:23-24; '424 patent at

                                           3   8:35-36; '847 patent at 8:24-25.      In their reply brief, Plaintiffs

                                           4   cite the above-quoted passage, but they do not explain why the
                                           5   term "media" refers to content, or why the card must be capable of
                                           6
                                               storing large digital files, as they contend.
                                           7
                                                    Finally, in lieu of Defendants' suggestion to utilize the
                                           8
                                               word "module," a technical term that is not defined in the record,
                                           9

                                          10   the Court will use the more familiar word "device," as discussed

                                               at the claim construction hearing.
For the Northern District of California




                                          11
    United States District Court




                                          12        Accordingly, the Court concludes that the term "memory media
                                          13   card" means "a removable device capable of storing electronic
                                          14
                                               data."
                                          15
                                                         7. "type of memory [media] card"
                                          16
                                                    This phrase appears in claims 1 and 9 of the '443 patent, in
                                          17
                                               claims 25 and 28 of the '424 patent, and in claim 1 of the '847
                                          18

                                          19   patent.    The '443 patent describes that the controller chip maps

                                          20   contact pins to signal lines, "based on an identified type of a

                                          21   memory media card."     '443 patent at 8:54-56.     The term appears in
                                          22   claim 9 of the '443 patent, claims 25 and 28 of the '424 patent,
                                          23
                                               and in claim 1 of the '847 patent in language that is slightly,
                                          24
                                               though not significantly, different.       '443 patent at 10:6; '424
                                          25
                                               patent at 11:6 and 12:10-11; '847 patent at 8:48.
                                          26
                                          27        Plaintiffs contend that this term requires no construction.

                                          28   Defendants propose the following: "different 'types of memory

                                                                                    28
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 29 of 31



                                               media cards' have incompatible electrical and physical interfaces.
                                           1

                                           2   For purposes of mapping/identifying in these claims, MMC/SD is a

                                           3   single type of memory media card."        Defendants' Brief at 31.

                                           4        The Court rejects Defendants' proposal.        The intrinsic
                                           5   evidence does not support a conclusion that the applicant clearly
                                           6
                                               limited the term to mean that MMC and SD cards are a single type
                                           7
                                               of memory media card.     Instead, as Plaintiffs show, the applicant
                                           8
                                               differentiated MMC and SD cards in Figure 1 and in the
                                           9

                                          10   specification.   Plaintiffs' Brief at 21-22 (quoting '424 patent at

                                               2:2-4) ("MultiMediaCard 141 or Secure Digital card 153 . . . have
For the Northern District of California




                                          11
    United States District Court




                                          12   . . . different pin-out.").      The applicant also differentiated MMC
                                          13   and SD cards during prosecution, explaining that Figures 4 and 5
                                          14
                                               show the sets of contact pins utilized depending upon the type of
                                          15
                                               card inserted, and specifying that "MMC and SD are themselves
                                          16
                                               different card types."     '847 File History, Ex. I.      In light of the
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                                               instances in the record where MMC and SD cards are specifically
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                                          19   referred to as different "types" of cards, the Court rejects the

                                          20   second sentence of Defendants' proposal as unsupported by the

                                          21   record.
                                          22        The Court also rejects the first half of Defendants'
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                                               proposal, that different types of cards must have incompatible
                                          24
                                               electrical and physical interfaces, as unsupported by the record.
                                          25
                                               The concept of incompatibility is not well-defined in the
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                                          27   materials before the Court; indeed, Defendants do not use, much

                                          28   less define, the term in their brief urging the Court to adopt a

                                                                                    29
                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 30 of 31



                                               definition relying on that term.      Moreover, the word
                                           1

                                           2   "incompatible" is used only once in each patent, each time

                                           3   discussing compatibility of adapter cards with laptop devices,

                                           4   another context entirely.     '443 patent at 3:14-16; '424 patent at
                                           5   3:14-16; '847 patent at 3:2-3.      Thus the Court declines to
                                           6
                                               construe the claim term using the word "compatibility."
                                           7
                                                    In their briefs, Plaintiffs contend that no construction is
                                           8
                                               necessary.   The Court disagrees and finds that definition of the
                                           9

                                          10   term will assist in further adjudication of this case.             At the

                                               claim construction hearing Plaintiffs proposed a definition that
For the Northern District of California




                                          11
    United States District Court




                                          12   different types of cards have different numbers of contact pins or
                                          13   use those contact pins differently.       When asked, Defendants did
                                          14
                                               not articulate a reason why the Court should not adopt Plaintiffs'
                                          15
                                               proposal.    The Court finds that this definition is supported by
                                          16
                                               the intrinsic evidence, given the patents' emphasis on assigning
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                                               contact pins to signal lines upon detecting the type of card; it
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                                          19   makes sense that if the card's contact pins are different in

                                          20   number or differently used, this would constitute a different type

                                          21   of card, affecting how the controller maps the signals.
                                          22   Accordingly, the Court concludes that the term "type of memory
                                          23
                                               [media] card" means a "subset of memory media cards containing
                                          24
                                               different numbers of contact pins or using contact pins
                                          25
                                               differently."
                                          26
                                          27                                   CONCLUSION

                                          28

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                                                 Case 4:14-cv-03645-CW Document 89 Filed 09/18/15 Page 31 of 31



                                                    For the reasons explained above, the Court construes the
                                           1

                                           2   disputed claims as follows:

                                           3                 Term                          Court's Construction
                                               1. "to map"                           "to assign"
                                           4   2. "means for mapping"                Function: "mapping"
                                                                                     Structure: "a controller"
                                           5
                                               3. "means for                         Function:
                                           6   [identifying/determining] the         "[identifying/determining] the
                                               type of memory card inserted          type of memory card inserted
                                           7   into said port"                       into said port"
                                                                                     Structure: "a controller and
                                           8                                         card detect lines"
                                               4. "Contact pins integrated           "contact pins embedded within
                                           9
                                               within molded plastic"                molded plastic"
                                          10   5. "Interconnection means"            "conductive structures separate
                                                                                     and distinct from contact pins"
For the Northern District of California




                                          11   6. "memory media card"                "a removable device capable of
                                                                                     storing electronic data"
    United States District Court




                                          12   7. "type of memory [media] card"      "subset of memory media cards
                                          13                                         containing different numbers of
                                                                                     contact pins or using contact
                                          14                                         pins differently"

                                          15        IT IS SO ORDERED.

                                          16   Dated: September 18, 2015
                                                                                     CLAUDIA WILKEN
                                          17                                         United States District Judge

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